Case 2:21-cv-02927-CAS-PD Document 349 Filed 05/24/24 Page 1 of 2 Page ID #:8290



    1

    2

    3

    4

    5

    6

    7

    8                       UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10

   11   SECURITIES AND EXCHANGE                       Case No. 2:21-cv-02927-CAS-PDx
        COMMISSION,
   12                                                 ORDER GRANTING UNOPPOSED
                    Plaintiff,                        MOTION OF KATTEN MUCHIN
   13                                                 ROSENMAN LLP FOR FINAL
              v.                                      APPROVAL AND PAYMENT OF
   14                                                 FEES AND EXPENSES
        ZACHARY J. HORWITZ; and 1inMM                 (JANUARY-MARCH 2024)
   15   CAPITAL, LLC,
   16               Defendants.
   17

   18         Upon consideration of the Unopposed Motion of Katten Muchin Rosenman
   19   LLP for Final Approval and Payment of Fees and Expenses (January-March 2024),
   20   dated May 1, 2024 the (“Motion”), filed by Katten Muchin Rosenman LLP
   21   (“Katten”), counsel for Michele Vives, the Receiver appointed in this civil action
   22   (the “Receiver”); the Court, having reviewed the Motion and being fully advised in
   23   the premises, finds that the Motion satisfies the requirements of Local Rules 66-7
   24   and 66-8 and the Compensation Procedures Order, that notice of the Motion is
   25   sufficient under the circumstances and that there is good cause to grant the relief
   26   provided herein; it is, therefore, pursuant to the Court’s power to supervise equity
   27   receiverships and all other powers in that behalf so enabling, hereby ORDERED:
   28
                                                                       Case No. 2:21-cv-02927-CAS-PD
                                      ORDER GRANTING MOTION OF KATTEN MUCHIN ROSENMAN LLP FOR
                                      FINAL APPROVAL AND PAYMENT OF FEES AND EXPENSES (JANUARY-
                                                                                        MARCH 2024)
Case 2:21-cv-02927-CAS-PD Document 349 Filed 05/24/24 Page 2 of 2 Page ID #:8291



    1         1.    The Motion is GRANTED. Capitalized terms used in this order have
    2   the meanings ascribed to them in the Motion.
    3         2.    Katten is ALLOWED $384,056.50 in fees and $12,536.29 in expense
    4   reimbursement during the Application Period on a final basis.
    5         3.    The Interim Payments of fees and expenses identified in paragraph 15
    6   of the Motion are APPROVED.
    7         4.    The Receiver is AUTHORIZED to pay Katten the Holdback Amount
    8   of $76,811.30.
    9         5.    Notice of the hearing on the Motion is limited to that given, and the
   10   Receiver and Katten are EXCUSED from complying with any additional notice
   11   requirements imposed by Local Rule 66-7(f).
   12   Dated: May 24, 2024
   13                                             _                                        ____
                                                  Honorable Christina A. Snyder
   14                                             United States District Judge
   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                                                      Case No. 2:21-cv-02927-CAS-PD
                                     ORDER GRANTING MOTION OF KATTEN MUCHIN ROSENMAN LLP FOR
                                     FINAL APPROVAL AND PAYMENT OF FEES AND EXPENSES (JANUARY-
                                                                                       MARCH 2024)
                                                 2
